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                   EXHIBIT H
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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  RAEANN BAYLESS,                )
                                 )
           Plaintiff,            )
                                 )                              CASE NO: 6:20-cv-831-Orl-37GJK
  v.                             )
                                 )                              PLACEHOLDER FOR EXHIBIT H TO
  BOSTON SCIENTIFIC CORPORATION; )                              DEFENDANT BOSTON SCIENTIFIC’S
  and COLOPLAST CORP.,           )                                 DISPOSITIVE MOTION FOR
                                 )                                 SUMMARY JUDGMENT AND
           Defendants.           )                                 MEMORANDUM IN SUPPORT
                                 )
                                 )

  This document is a place holder for the following item(s) which are filed under seal:

                                              Exhibit H
                               Plaintiff Raeann Bayless’ Consent Forms

  If you are a participant in this case, this filing will be served upon you in conventional format.

  This filing was not e-filed for the following reason(s):

  ___ Voluminous Document* (Document number of order granting leave to file conventionally: ___ )

  ___ Unable to Scan Documents (e.g., PDF file size of one page larger than 5MB, illegible when scanned)

  ___ Physical Object (description):

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  ___ Item Under Seal pursuant to a court order* (Document number of protective order: ___)

   X Item Under Seal pursuant to the Fed. R. Civ. P. 5.2 and Fed. R. Crim. P. 49.1

  ___ Other (description):

  * Filing of these items requires Judicial Approval.
  E-file this place holder in ECF in place of the documents filed conventionally. File a copy of this
  Placeholder and a copy of the NEF with the Clerk's Office along with the conventionally filed item(s).
